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              IN THE UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF ARKANSAS
                        CENTRAL DIVISION

ROBERT PHILPOTT                                                    PLAINTIFF
ADC# 111495

v.                          No. 4:24-cv-1035-DPM

JOHN FELTS, Chair, Arkansas
Post Prison Trans£er Board;
BRENT MORGAN, Member,
Arkansas Post Prison Trans£er
Board; LONA MCCASTLAIN,
Director, Arkansas Post Prison
Transfer Board; WILLIE ROBINSON,
Member, Arkansas Post Prison
Transfer Board; ANDY SHOCK,
Member, Arkansas Post Prison
Transfer Board; WENDY LYALS,
Member, Arkansas Post Prison
Transfer Board; SARAH HUCKABEE
SANDERS, Governor, Arkansas; and
DOUG SMITH, Member, Arkansas
Post Prison Trans£er Board                                      DEFENDANTS

                                   ORDER
     1.       Philpot is a three-striker. Before filing this lawsuit, he had
at least three cases dismissed for failing to state a claim. E.g., Philpott
v. Sebastian County Courthouse, et al., Case No. 2:11-cv-2101-PKH (W.D.
Ark.);     Philpott v. Barnett, No. 2:07-cv-02074-JLH (W.D. Ark.);            and
Philpott v. Arkansas, et al., No. 5:07-cv-161-JLH (E.D. Ark). Nothing in
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Philpott' s new complaint, Doc. 2, suggests he's currently in imminent
danger of serious physical injury. 28 U.S.C. § 1915(g). His complaint
will therefore be dismissed without prejudice.
     2. If Philpott wants to pursue this case, then he must pay $405
(the filing and administrative fees) and file a motion to reopen the case
by 3 February 2025. An in forma pauperis appeal from this Order and
accompanying Judgment will not be taken in good faith.             28 U.S.C.
§ 1915(a)(3).
     3.    Philpott' s motion for the appointment of counsel, Doc. 2, is
denied.
     4.    The Court directs the Clerk to correct the spelling of
Philpott's name on the docket sheet.
     So Ordered.


                                  D .P. Marshall Jr.
                                  United States District Judge




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